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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS                             a-,4;*'/ 0 5 2$18
                                                                                     THCIIVlAS G. BRUTON
                                                                                  CLERK, U.S. DISTRICI COURT
BIC CORPORATION and BIC USA
                                                               CASE NO.:

                   Plaintiffs,                                 FILED UNDER SEAL

vs.

CHICAGO IMPORT INC., DIAMOND
WHOLESALE GROUP, INC., JOHN DOE                                1:18-cv{173'n
COMPANIES 1-10, and JOHN or JANE DOES                 1-1
                                                               _Judge John Robert Bhlrry
                                                               ilagisffi Juee Jefrey t             CitUert
                   Defendants.



                                 COMPLAINT AND JURY DEMAND


        Plaintiffs BIC Corporation and BIC USA Inc. (hereinafter collectively "BIC"), by and through

their attorneys, complaining of the Defendants, Chicago Import Inc. ("Chicago Import"), Diamond

Distributors Inc. ("Diamond"), John Doe Companies 1-10, and John and Jane Does 1-10 (hereinafter

collectively ("Defendants"), allege and say as follows:

                                    NATURE OF THE ACTION

        l.     This action is being brought by Plaintiffs to put an end to Defendants' wrongful

distribution in the United States (including in this District) of BlC-branded lighters, that are

not intended for distribution inside the United States, and that do not comply with various U.S.

federal standards and regulations.

        2.     Defendants have     willfully   and   knowingly sold, marketed, advertised and

distributed products which do not contain federally mandated enhanced child-resistant

technology and/or the required instructions, warnings, disclosures, markings and certifications

required under U.S. law.




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         3.      This is an action for trademark infringement under Section 32 of the Lanham

Act,   15 U.S.C. $ 1117 (Registered Trademark Infringement); Section 43(a) of the Lanham

Act,   15 U.S.C. $ 1125(a), as amended (False Designation            of Origin); contributory trademark

infringement under Section 43 of the Lanham Act, 15 U.S.C. $ 111a(1Xa); Section 43(c) of

the Lanham Act, 15 U.S.C. $ 1125(c) (Trademark Dilution in Violation of the Federal Trademark

Dilution Act); 815 I.L.C.S. $ 510/1 et seq.;765 I.L.C.S. $ 1036/65; and the common law of the

State of Illinois.

                                                  PARTIES

        4.           Plaintiff BIC Corporation (hereinafter "BIC Corporation") is a Connecticut

corporation, having its principal place of business in Shelton, CT.

        5.           Ptaintiff BIC USA Inc. (hereinafter "BIC USA"),         a   wholly owned

subsidiary of BIC Corporation, is a Delaware corporation, having its principal place of

business in Shelton, CT.

        6.           Upon information and belief, Chicago Import, Inc. is an Illinois Corporation with a

regular place of business at 381 1 West Lawrence Avenue, Chicago, Illinois 60625. Service may be

made upon its registered agent, ASHOK PUNJABI, 3801 West Lawrence Avenue, Chicago,

Illinois.

        7.           Upon information and belief, Defendant Diamond Wholesale Group is an Illinois

Corporation with a regular place of business at. 7252 West 87ft Street, Bridgeville, Illinois 60455.

Service may be made upon its registered agent, Halawa         Ill   Registered Agent, which has an address

of 7000 West     111th Street,   Suite 102, Worth, Illinois 60482.

        8.           BIC is currently unaware of the true names and identities of Defendants John Doe

Companies 1-10 and John or Jane Does 1-10, but is informed and believes that such persons and

entities are liable for the violations alleged in this Complaint. BIC may seek leave to amend this



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Complaint at an appropriate time to add specific information regarding these defendants upon

determination of their true identities.

                                   .TURISDICTION AND YENUE

        9.        This is a civil action arising from Defendants' misuse of BIC's trademarks and

trade dress. The claims alleged in this Complaint arise under the Lanham          Ac|   15 U.S.C. $ 1051

seq., and under Illinois state law.

        10.       This Court has jurisdiction over the subject matter of this action pursuant to           15


U.S.C. $$ 1121 and28 U.S.C. $$ 1331 and 1338,

        1    1.   This Court has supplemental jurisdiction over BIC's state law claims pursuant to

28 U.S.C. $ 1367(a).

        12.       Venue is proper in Illinois pursuant to 28 U.S.C. $ 1391(b).

        13.       Venue is proper in the Northern District of Illinois as, upon information and

belief, Defendants are located therein and/or transacted business therein relative to the claims

made herein.

        14.       This Court has personal jurisdiction over Chicago Import as it is an Illinois

corporation, it is located in the State of Illinois, and it sold, marketed, advertised and distributed

infringing goods or otherwise transacted business from the State of Illinois.

        15.       This Court has personal jurisdiction over Diamond as it is an Illinois corporation, it

is located in the State of Illinois, and   it sold, marketed, advertised   and distributed infringing goods

or otherwise transacted business from the State of Illinois.

        16.       This Court has personal jurisdiction over John Doe Companies 1-10 as they, upon

information and belief, are located in the State of Illinois, sold, advertised and marketed infringing

goods or otherwise transacted business from the State of       Illinois, and/or conspired with Chicago

Import and or Diamond in the State of Illinois to engage in such acts in the State of Illinois.



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        17   .   This Court has personal jurisdiction over John or Jane Does      1   -   1   0 as they, upon

information and belief, are located in the State of Illinois, sold, advertised and marketed

infringing goods or otherwise transacted business from the State of Illinois, and/or conspired

with Chicago Import and or Diamond in the State of Illinois to engage in such acts in the State

of Illinois.

                                     FACTUAL BACKGROUND

 BIC's Trademarks Rishts

         18.      BIC is in the business of manufacturing and distributing high quality and reliable

consumer products, including lighters.

         19.      For well over 30 years, and well before the acts of Defendants identified

herein, BIC has used various trademarks and source-identifying product configurations to

indicate the origin of its goods, including its lighters. These trademarks and configurations

include the following terms, designs, and trade dress, which are registered with the United

States Patent and Trademark Office ("USPTO"), and are collectively referred to hereinafter as

the "Marks":

                      "BIC" Reg. No. 2,324,480, registered with the USPTO in connection with

         "cigarette and cigar lighters not of precious metals," among other goods, with a date of

         first use of at least as early as 1971. A true and correct copy of the registration certificate

         for this mark is attached hereto as Exhibit A.



         b.fi@,Reg.No.95I,66l,registeredwiththeUSPToin
         connection with "cigarette lighters and refills therefor," with a date of first use at

         least as early as l97l . A true and correct copy of the registration certificate for this

         mark is attached hereto as Exhibit B.




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        c.                    Reg. No. 1,761,622, registered with the USPTO in connection with

        "cigarette lighters not made of precious metals," with a date of first use at least as early        as


         1973.   A true and correct copy of the registration certificate for this mark is attached hereto

        as   Exhibit C.




        d.              $l t'S , Reg. No. 2, 278,917, registered with the USPTO in connection
        with "cigarette lighters not made of precious metals," with        a date   of first use at least   as


        early as 1995. A true and correct copy of the registration certificate for this mark is

         attached hereto as   s!i[!!p.     This trade dress configuration is substantially similar to

        the prior configuration, but includes an enhanced child-resistant feature incorporated

         into BIC's lighter design in 1994.

         20.        In continuous and substantially exclusive use for over 40 years, as well as being

the subject of the expenditure of tens of millions of dollars in promotion and advertising, the

Marks are recognized as indicators of source for BIC's high-quality and pioneering lighters and

are the embodiments of the substantial and valuable goodwill associated with Plaintiffs'

products.

         21.        As a result of BIC's substantial efforts, and prior to the acts of Defendants alleged

herein, the Marks have become famous in the minds of consumers to identify BIC as the source for

BIC's goods.


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          22.    BIC Corporation is the owner of the Marks in the United States and licenses them

to BIC USA.

BlC-Branded Liehters

          23.   BIC, the sole domestic manufacturer of disposable lighters, has      a 40-year   history

of providing safe, reliable non-refillable pocket lighters to millions of Americans. Since I97 4, BIC

has been a market leader in the industry and has worked extensively     with the United States

Consumer Product Safety Commission ("CPSC") in the development and implementation of a

national standard for child-resistant non-refillable pocket lighters. In the third quarter of 1985, BIC

began a research and development program with the goal of improving the design of non-refillable

pocket lighters to further ensure child safety. Since then, BIC has spent in excess of $32 million in

research and development, engineering and the acquisition of intellectual property for enhanced

child-resistant technology which has been incorporated in its disposable lighters sold in the United

States.

          24.     Shortly after the commencement of BIC's research and development program,

BIC came to the conclusion that there should be a mandatory industry standard for child safety and

began working directly with the American Society for Testing and Materials      ("ASTM"), its lighter

subcommittee, and the CPSC to develop a child-resistant lighter standard. In so doing, BIC shared

the results of its research and development work in this area with these entities.

          25.     All lighters sold and distributed throughout   the United States by BIC since the

CPSC promulgated its regulations    in 1994have included enhanced child-resistant technology, the

third generation of which is comprised of a mechanism incorporating a metal guard over the spark

wheel. The CPSC regulations help ensure that the consuming public receives only safe and genuine

US-compliant BIC products.




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              26.         Closely following CPSC regulations is critical to BIC's maintenance of quality

      control standards for its US products.

              27.         BIC does not sell any non-refillable pocket lighters in the United States that do

      not have enhanced child-resistant technology as required by U.S. law.

               28.       Societe BIC, an independent affiliate of BIC, is a French corporation whose

      subsidiaries and affiliate companies distribute lighters outside of the United States. In countries

      where enhanced child-resistant designs are required by law, BIC only sells enhanced child-

      resistant designs incorporating the technology required by the CPSC.

               29.       In addition to incorporating enhanced child-resistant technology, U.S.-destined

      lighters bearing the Marks, their master shipping cases, and point-of-purchase display trays and

      packaging and the lighters themselves bear various textual consumer instructions, warnings,

      disclosures and certifications, such as "KEEP AWAY FROM CHILDREN," "COMPLIES

      WMH     16 C.F.R.   I2IO," "IGNITE LIGHTER AWAY FROM FACE AND CLOTHING," "BE

      SURE LIGHTER IS OUT AFTER IJSE,,' ANd..CONTAINS FLAMMABLE GAS I.INDER

      PRESSURE," among others.

               30.       For lighters destined for sale outside the United States, BIC is respectful of the

      requests and requirements of those governments and consumers by offering lighters with and

      without enhanced child-resistant features and with warnings and instructions that meet or exceed

      the local requirements, laws, and regulations.

                   31.   Lighters bearing the Marks, their master shipping cases, and point-of-purchase

      display trays that are intended for distribution outside the United States do not bear the U.S.

      federally mandated warnings and statements and/or implement such warnings and statements

      required in different ways, such as through pictures. Moreover, when they appear, statements are

      often printed in foreign languages.



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         32.     Some lighters bearing the Marks that are intended for distribution outside

the United States are packaged in cases and trays which bear graphics and language that are

not authorized for use in the U.S. market.

         33.     Lighters bearing the Marks, as well as their point-of-purchase packaging and

cases, which are intended   for distribution outside the United States, bear markings, graphics and

designs that differ from those appearing on U.S.-destined goods. Further, the unit count    of

containers and point-of-purchase displays for these goods differ for U.S. and non-U.S. destined

goods.

         34.     Thus, lighters distributed outside the United States, while visually difficult to

distinguish from domestic BIC lighters, are materially different from domestic BIC lighters due

to the absence of the prescribed enhanced child-resistant technology and textual instructions,

warnings, disclosures, and certifications.

 U.S. and Foreisn Lishters are Materiallv Different Products

         35.     Upon information and belief, Defendants purchased lighters bearing the Marks

which were manufactured and were intended for distribution outside the United States.

         36.     Upon information and belief, said lighters were imported into the United States

in violation of United States Customs regulations including, without limitation, 19 C.F.R. 133.23.

         37.     Unlike lighters intended for distribution in the United States, these lighters bear

pictorial warnings, rather than English language warnings. A comparison of lighters intended for

distribution outside the United States and the proper U.S.-labeled lighters appears below:




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         US Label - English Lanugage,                        Foreign Label   -   Pictograms
             BIC USA Inc. Address


        38.    Unlike lighters intended for distribution in the U.S., the labels associated with the

 non-U.S. lighters fail to include, among other failings, appropriate and legally required

 instructions and disclosures in English on the lighter body; appropriate instructions, disclosures

 and certifications on the storage trays and header cards; and appropriate instructions, disclosures

 and certifications on the master shipping cases. Additionally, the point-of-purchase packaging

 and master shipping cases for such lighters bear different markings, graphics and designs than

 those of authorized U.S. goods.

        39.     Lighters intended for distribution outside the U.S. also lack the enhanced child-

resistant technology including a metal guard over the spark wheel incorporated in U.S.-destined

lighters, as the side-by-side comparison below demonstrates:




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             US Lighter   with Child Resistant Guard              Foreign Lighter without Child
                                                                         resistant suard


         40.     In addition, the master shipping cases in which lighters intended for sale outside of

the United States do not display the required DOT master shipping case design approval number,

and do not bear a child-resistant testing certification.

         41.     In addition, master shipping   cases intended   for foreign countries bear a conspicuous

stamp stating, 'T.{ON CR AREA," meaning that the lighters contained therein may only be sold in

areas where child-resistant features are not required.

Defendants' Wronsful Acts

         42.     Upon information and belief, in October 2018 and at other times and up to the

present time, Defendants advertised, offered for sale and sold lighters in the United States,

branded with BIC's Marks, with improper markings and without enhanced child-resistant

technology, which were packaged in master shipping cases that are not labeled in compliance

with Department of Transportation regulations.




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                   43.    Upon information and belief, Defendants have sold improperly marked, and non-

           CPSC-compliant, lighters bearing the Marks to various retailers and distributors in the United

           States and intend to imminently sell additional improperly marked, and non-CPSC-compliant,

           lighters bearing the Marks to other retailer and distributor customers.

                   44.    The products advertised, offered for sale and sold by Defendants fail to comport

           with relevant U.S. standards and/or regulations.

                   45.    Upon information and belief, Defendants are currently in possession of additional

           stock of improperly marked, and non-CPSC-compliant, lighters bearing the Marks, and intend to

           imminently sell said lighters in interstate commerce.

                   46.    Upon information and belief, Defendants engaged in these acts with the knowledge

           of BIC's rights and the willful intent to violate same.

                   47.    Defendants' unlawful actions are having, and   will continue to have, a substantial

           and adverse effect on United States commerce.

                   48.    Defendants' wrongful acts and/or    willful infringements have caused,   and   will

           continue to cause, irreparable harm to BIC unless permanently enjoined, for which BIC has no

           adequate remedy at law.

                    49.   Defendants are profiting, and will continue to profit from their unlawful actions.

                   50.    Defendants' actions are causing and will continue to cause BIC monetary damage

           in amounts presently unknown but to be determined at trial.

                   51.    The CPSC has concluded that the child-resistant technology and markings

            mandated under its regulations are necessary in order to ensure the safety of the consuming

            public, and especially children.




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          52.      These features are lacking on the non-compliant goods being sold by

 Defendants. Defendants' actions thus present significant public health and safety

 concerns.

          53.      Defendants' actions may potentially place consumers, or children thereof,

 in danger if their actions are not enjoined.

          54. By selling these lighters, the Defendants have knowingly engaged                in

 violations of the Lanham Act, as well as other federal laws and regulations. The

 Defendants' conduct and other evidence suggests that the Defendants knew that the non-

 U.S. lighters could not legally be sold in the United States. Given the possibility of civil

 and criminal enforcement action against them, and the potential liabilities and penalties

 that may be imposed, there is a real risk that the Defendants will conceal or destroy their

 records and conceal or dispose of remaining inventory.

          55.       On information and belief, John Doe Companies 1-10 and John and Jane Does

1-10 have conspired with the Defendants to carrying out the wrongful conduct alleged herein.

               FIRST CLAIM FOR RELIEF BY PLAINTIFF BIC CORPORATION
                             Federal Trademark Infringement
                            Lanham Act $ 32. 15 U.S.C.$ llil

          56.       BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 55 hereof as     iffully   set forth herein'


          57   .    BIC Corporation is the owner and registrant of the Marks.

          58.       BIC USA is the exclusive licensee of the Marks in the United States.

           59.      Defendants have not been granted any right to use the Marks in the United

States.

          60.       Defendants have used the Marks on goods that are materially different than

those authorizedto be sold under said Marks in the United States.

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          61.         Defendants' uses of the Marks have caused and/or are likely to cause

confusion or mistake, or to deceive regarding the source, sponsorship and/or affiliation of the

goods imported, offered and sold by Defendants.

          62.         Defendants' wrongful acts and/or willful infringements, for which BIC has

no adequate remedy at law, have caused, and         will continue to cause damages   and irreparable

harm to BIC unless permanently enjoined.

          63.         Defendants are liable for trademark infringement, in violation of Section 32

of the Lanham Act, 15 U.S.C. $ 1 114.

                                  SECOND CLAIM FOR RELIEF BY BIC
                                    Federal False Desisnation of Origin
                                    Lanham Act $ 43. 15 U.S.C. $ 1125

          64.         BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs      I   through 63 hereof as if fully set forth herein.

          65.         BIC Corporation is the owner and registrant of the Marks.

          66.         BIC USA is the exclusive licensee of the Marks in the United States.

          67.         Defendants have not been granted any right to use the Marks in the United

States.

          68.         Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

          69.         Defendants'uses of the Marks have caused and/or are likely to cause confusion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

          70.         Defendants' wrongful acts and/or willful infringements, for which BIC has no

adequate remedy at law, have caused, and         will continue to cause damages   and irreparable harm to

BIC unless permanently enjoined.

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        71.      Defendants are liable for trademark infringement, in violation of Section 43 of the

Lanham Act, 15 U.S.C. $ 1125.

                            THIRD CLAIM FOR RELIEF BY BIC
                            Contributorv Trademark Infringement
                            Lanham Act $ 43. L5 U.S.C. $ 1lL4(1,Xa)

        72.      BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 671 hereof as   if fully set forth herein.

        73.      BIC Corporation is the owner and registrant of the Marks.

        74.      BIC USA is the exclusive licensee of the Marks in the United States.

        75.      Defendants have provided to retailer and/or distributor customers lighters

bearing the Marks on goods that are materially different than those authorized to be sold

under said Marks in the United States, with knowledge, expectation and/or intention that the

retailers and/or distributors would use the Marks in connection with the sale of such lighters.

        76.      Defendants and their retailer and/or distributor customers have not been

granted any right to use the Marks in the United States.

        77   .   The unauthorized uses of the Marks by retailers and/or distributors supplied by

Defendants have caused and/or are likely to cause confusion or mistake, or to deceive regarding

the source, sponsorship and/or affiliation of the goods imported, offered and sold by retailers

and/or distributors supplied by Defendants.

         78.     Defendants have intentionally induced or contributed to or knowingly

participated in the infringement of BIC's rights in the Marks by the Defendant's retailer and

distributor customers.

         79.     Defendants have profited from the infringement of BIC's rights in the Marks by

Defendant the Defendants' retailer and distributor customers'




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        80.      Defendants' wrongful acts and/or willful contributory infringements, for which

BIC has no adequate remedy at law, have caused, and will continue to cause damages and

irreparable harm to BIC unless permanently enjoined.

        81.      Defendants are liable for contributory trademark infringement, in violation     of

Section 43 of the Lanham Act, 15 U.S.C. $ 1114(1)(a).

                            FOURTH CLAIM FOR RELIEF BY BIC
                                     Federal Dilution
                              Lanham Act $ 43. 15 U.S.C. $ 1125


        82.       BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 80 hereof as   if fully   set forth herein.


        83.       BIC Corporation is the owner and registrant of the Marks.

         84.      BIC USA is the exclusive licensee of the Marks in the United States.

        85.       The Marks are famous within the meaning of the law, and were famous prior

to the acts committed by Defendants discussed herein.

         86.      Defendants have not been granted any right to use the Marks in the United States.

         87.      Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

         88.      Defendants' uses of the famous Marks injure BIC's business reputation and have

diluted and/or are likely to dilute the distinctive qualities of the Marks.

         89.      Defendants' wrongful acts and/or willful dilution, for which BIC has no

adequate remedy at law, have caused, and       will continue to cause damages   and irreparable harm to

BIC unless permanently enjoined.

         90.      Defendants are liable for trademark dilution, in violation of Section 43 of

the Lanham Act, 15 U.S.C. $ 1125.

                              FIFTH CLAIM FOR RELIEF BY BIC
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             Illinois Common Law Trademark Infringement and Unfair Competition

          91.     BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 90 hereof as   if fully   set   forth herein.

          92.     BIC Corporation is the owner and registrant of the Marks.

          93.     BIC USA is the exclusive licensee of the Marks in the United States.

          94.     BIC, at great expense and effort, has acquired a property interest in the State

of Illinois in the Marks in connection with their goods.

          95.      Defendants have misappropriated Plaintiffs' labors and expenditures.

          96.      Defendants have not been granted any right to use the Marks in the United

States.

          97.      Defendants have used the Marks on goods that are materially different than

those authorrzedto be sold under said Marks in the United States.

          98.     Defendants' uses of the Marks have caused and/or are likely to cause confusion

or mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods

imported, offered and sold by Defendants.

          99.     Defendants' conduct is an attempt to wrongfully profit from the expense, effort

and reputation of BIC within the State of Illinois.

          100.    Defendants' wrongful acts and/or willful infringements, for which BIC has no

adequate remedy at law, has caused, and    will continue to cause damages           and irreparable harm to

BIC unless permanently enjoined.

          101.    Defendants are liable for trademark infringement, in violation of Illinois

law. BIC is thereby entitled to injunctive relief, damages           and costs, as well as,   if
appropriate, enhanced damages and reasonable attorneys' fees.

                               SIXTH CLAIM FOR RELIEF BY BIC
                                Decentive and Unfair Trade Practices
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     Illinois Uniform Deceptive Trade Practices Act ("IUDTPA").815I.L.C.S.               $ 510/1el. sea.

          102.    BIC repeats, reiterates and re-alleges each and every allegation contained in

Paragraphs 1 through 101 hereof as   iffully set forth herein.

          103.    BIC Corporation is the owner and registrant of the Marks.

          1O4.    BIC USA is the exclusive licensee of the Marks in the United States.

          105.    BIC, at great expense and effort, has acquired   a   property interest in the State of

Illinois in the Marks in connection with their goods.

          106.    Defendants have not been granted any right to use the Marks in the United

States.

          lO7.    Defendants have used the Marks on goods that are materially different than those

authorized to be sold under said Marks in the United States.

          108.    Defendants' uses of the Marks have caused and/or are likely to cause confusion or

mistake, or to deceive regarding the source, sponsorship and/or affiliation of the goods imported,

offered and sold by Defendants.

           109.   Defendants' conduct is an attempt to wrongfutly profit from the expense, effort and

reputation of BIC within the State of Illinois.

           110.   Defendants'wrongful acts and/or wiltful infringements, for which BIC has no

adequate remedy at law, has caused, and     will continue to cause damages        and irreparable harm to

BIC unless permanently enjoined.

           111.   Defendants are liable for deceptive and unfair trade practices, in violation of 815

I.L.C.S. $ 510/1 et. seq. BIC is thereby entitled to injunctive relief, damages and costs, as well         as,


if   appropriate, enhanced damages and reasonable attorneys' fees.




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                            SEVENTH CLAIM FOR RELIEF BY BIC
                                      Trademark Dilution
             Illinois Trademark Reeistration and Protection Act.765 I.L.C.S. 1036/65

          ll2.    BIC repeats, reiterates and re-alleges each and every allegation contained

in Paragraphs 1 through    11   t   hereof as   if fully set forth   herein.

          113.    BIC Corporation is the owner and registrant of the Marks.

          Il4.     BIC USA is the exclusive licensee of the Marks in the United States.

          115.     The Marks are distinctive and famous within the meaning of 765

I.L.C.S. 1036/65, and were famous prior to the acts committed by Defendants discussed

herein.

          116.     Defendants have not been granted any right to use the Marks in the

United States.

          ll7.     Defendants have used the Marks on goods that are materially different than

those authorizedto be sold under said Marks in the United States.

          118.     Defendants' uses of the famous Marks injure BIC's business reputation and have

diluted and/or are likely to dilute the distinctive qualities of the Marks.

          ll9.     Defendants' wrongful acts and/or willful dilution, for which BIC has no adequate

remedy at law, have caused, and        will continue    to cause damages and irreparable harm to BIC unless

permanently enjoined.

          120.     Defendants are liable for trademark dilution,               in violation of 765 I.L.C.S.
1036165. BIC is thereby entitled to injunctive relief, damages and costs, as well as,                    if
appropriate, enhanced damages and reasonable attorneys' fees.




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                                       PRAYER FOR RELIEF

        WHEREFORE, BIC respectfully requests that the Court:

             A.   Grant judgment in favor of BIC and against Defendants on all of BIC's claims;

             B.   Temporarily, preliminarily, and permanently enjoin and restrain Defendants, their

 officers, agents, subsidiaries, servants, partners, employees, attorneys and all others in active

 concert or participation with them, from:

                  a.   Advertising or selling any BIC products that are not authorized for sale in

                       the United States;

                  b.   Making any use of BIC's Marks, or any designation of origin confusingly

                       similar thereto, including importing into the U.S. lighters branded with

                       BIC's Marks;

                  c.   Infringing or diluting any of the Marks;

                  d.   Unfairly competing with BIC in the manufacture, importation, advertising,

                       offering for sale, sale, shipment and/or distribution of lighters;

                  d.   Disposing of, destroying, moving, secreting, relocating and/or transferring

                       any and all of Defendants' stock of wrongfully imported and labeled lighters

                       branded with BIC's Marks, without court direction;

                  e.   Selling any BlC-branded products in the United States that are materially

                       different from BIC's CPSC-compliant products or are otherwise not

                       compliant with United States laws or regulations.

                  i.   Disposing of, destroying, moving, secreting, relocating, altering and/or

                       transferring any information, records, and/or documents in Defendants'

                       possession pertaining to their purchase, importation. receipt, advertising,

                       offering for sale, sale, shipment and/or distribution of lighters branded with

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                       BIC's Marks, including invoices, correspondence with vendors and

                       distributors, banks records, account books, financial statements, purchase

                       contracts sales receipts, and other records, including electronically stored

                       information on computers, personal electronics such as cell phones; and,

                  g.   Assisting, aiding or abetting any other person or business entity in engaging in

                       or performing any of the aforementioned activities.

             C.   An order, pursuant to the Court's inherent equitable authority, and pursuant to     15


 U.S.C. $ 1116(d), directing seizure of all infringing and or gray market goods, and records

 relating to the purchase, sale, and advertising thereoi including electronically stored

 information, and financial information;

             D.   Order Defendants to, at Defendants' expense, withdraw from the market, account

 for and properly destroy any and all products bearing the Marks without enhanced child-resistant

 technology and/or with improper markings to the extent not seized;

             E.   Order Defendants, pursuant to 15 U.S.C. $ 1116, to serve on BIC within thirty

 (30) days after service on Defendants of preliminary or permanent injunctive orders, a report in

 writing, under oath, setting forth in detail the manner and form in which Defendants have

 complied with the injunction.

             F.   Order Defendants to account for, and pay over to BIC, Defendants' profits and all

 damages sustained by BIC;

        F.        Increase the amount of damages and/or profits awarded to BIC, as provided by

 law;

             G.    Award BIC such punitive damages for Defendants' willful and intentional acts of

 unfair competition and infringement of BIC's rights that the Court shall deem just and proper;



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                  H.     Award BIC the fees, costs and disbursements, and interest, expended

      in connection with any actions taken to investigate and confirm the claims made

     herein;

                         Award BIC its reasonable attorney fees, costs, disbursements, and interest,   as


      provided by law; and

                  J.     Granting such other and further relief as the Court may deem just and proper.

                                           DEMAND FOR JURY TRIAL

                  BIC demands a trial by jury of all issues so triable.




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       Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 22 of 36 PageID #:22



                                          Respectfully submitted,

                                          Plaintiffs,
                                          BIC Corporation and BIC USA Inc.,
                                          By their attorneys,

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                                           (617) 422-5300




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                  Exhibit A
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Int    Cls.: 11 and 34
Prior U.S. Cle.:2r8rgrl.grl7,Z1.rZ3,3l and 34
                                                                      Rq. No. 2fl24,499
United States Pr&nt and Trademark Office

                                     TRADEMARK
                                 PHNCIPAL REGISISR


                                            BIC



BIC CORPORATION (NEW YORK CORPORA-                 FORI CIGARETTE AND CIGAR LIGIITERS
 Trolll)                                        NOT OF PRECIOUS METATS, TN CT.ASS J+
5(n BIC DRIVE                                   (u.s. cLs. a 8, 9 AND t7).
MILFORD, CTO646O
                                                  FIRST USE l0-5-t971; IN        COMMERCE
  FOR: LIGIITERS PRIMAR]LY FoR LIGHT.           l0-5-t97t.
ING GRILIS; FIREPLACES AND CANDLES,
IN cLASStt (u.s. cr.s. 13, 71, 23, 3t aNo 16.     sER. NO. 73-6W32t, FILED 4_15_t999.
  FIRST USE t-28-I998; rN COMMERCE
t-2E-1998.                                      AMY LOH& EXAMINING ATTORNEY
Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 26 of 36 PageID #:26




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                 Exhibit B
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                                    Exhibit C
Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 31 of 36 PageID #:31




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BIC @RPORATION (NEW YORK CORFORA.                THE DRAWING SHOWS A LIGHTER
  Tro!9                                        HAVTNG AN OBT,ONG BODY WHICH IS EL
5@ BIC DRIVE                                   LIPTICAL IN CROSS-SECTION; A FORK
MILFORD,      C"T 06460                        WHICH    IS   GENERALLY PARABOLIC IN
                                               CROSS-SBCTION;    AND   A   HOOD WHTCH IS
      FOR: CIGARETTE LIGHTERS NOT MADE         OENERALLY PARABOLIC          IN    CROSS.SEC-
oF     PRECIOUS METAL, IN CLASS 34 (U.S. CL.   TTON.
8).                                             sEc. 2(F).
      FIRST USE tG-25-t973;   IN   COMMERCE
lo-25-1973.
                                                 sER. NO. 73-80E,t59, FTLED G2t-1989.
   THE LINING SHOWN IN THE DRAWING TS
FOR STIADING PURPOSES ONLY AND IS NOT
A. FEATUREOFTHE MARK.                          CRAIG K, MORRIS, EXAMINING ATTORNEY
Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 32 of 36 PageID #:32




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                      Exhibit D
           Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 34 of 36 PageID #:34
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           Int. Cl.:34
           Prior U,S. Cls.: 2,8r 9 and 17
                                                                            Reg. No.    2,n8917
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                                         PRINCIPAL REGISTER.




           BIC C1ORFORATION (NEW YORK CORPORA-          SHOWS A LIGHTER HAVING AN ABLONG
             fio19                                      BODY WHICH IS ELLIPTICAL IN CROS$SEC.
           5OO BIC DRIVE                                TION; A FORK WHICH IS GENERALLY PARA-
           MILFORD, CT06460                             BOLIC IN CROSS-SECTION; AND A H@D
                                                        WIIICH IS GENERALLY PARABOLIC IN
             FOR: CIGARETTE LIGIfTERS NOT MADE          cnosssEcTIoN.
           oF PRECIOUS METAL, tN CLASS 34 (U.S. Cl-s.    THE MARK CIONSTITI,TTFS THE CONFIGU.
           2, 8, 9   AND   17).                         RATION OFTHE PRODUCT, AS DEPICTED IN
             FIRST USB 2-0-1995; IN      COMMERCE       THEDRAWING.
           2-O-199s.                                      sBc.2(F).
             owNBROFU.S. REG. NO. 1,7il,A2,
             TIIE LINING SHOWN IN THE DRAWING IS         sER. NO. 75424,82q FrLED r-28-re98.
           FOR SHADING PI,RPOSES ONLY AND IS NOT
           A FBATT'RE OF TIIE MARK. TIIE DRAWING        JOHN E" MICHOS, BXAMINING ATTORNEY
 Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 35 of 36 PageID #:35

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                                                                                                              STEVTN M, T.RIMOftE
                             UNITED STATES DI$TRICT COURT                                                     cLERi{ U. S. D:ST, CT
                             SOUTHERN DISTRICT OF FLORIDA                                                          D ctFl-r1. -MAtu!!


                                                           CASE NCI.

BIC CORPORATION and BIC USA INC.,                                                  x"s*ss$x#
                       Plaintifl's.                                                n LED UNDER     ffi^$lV_UNGAA0
vs

FLORIDA DISTRII}U ORS, INC,. JOI-IN
DOE COMPANIES l-10, and JOIIN OR JANE
DOES t-t0.

                      Dcfendants.



                 PLATNTIFfS BrC COR{'ORAT|ON AND BIC US.trNC.'S
                  RULE 7.t CORPORATE DTSCLOSURE STATEMqNT

        Pursuant to ftule 7.1 of the Federal Rulesof                      Civil     Procedurc, Plaintifls BtC Corporation

and BIC USA lnc., by and through their attomeys. make the following disctosures:

       BIC Corporation is a wholly-owncd subsidiary of BIC Clichy SAS, rvhich in turn                                          is

owned by the BIC Croup-s ultimate parent company, Societd BIC. a Frcnch socidtd ilnonyme.

Socidti BIC is a publicly-traded company listed on Euronext paris.

       BIC USA Inc.is a wholly-owned subsidiary of BIC Corporalion, which is in turn is                                        a

rvholly-owned subsidiary   of BIC Clichy SAS, which in turn is owned by the BtC Group's
ultimate psrent company, Socidtc BlC, a French socidtd anonyme. Socidtd BIC is a publicly-

traded compflny listed on Euronsxt Paris"            .




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Case: 1:18-cv-07378 Document #: 1 Filed: 11/06/18 Page 36 of 36 PageID #:36




Date:   January 2,2018                  Respectfully submitted,

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                                        *Apptication lor admission Pro Flac Vice pending

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